Case 8:16-cv-00714-EAK-CPT Document 193 Filed 12/07/17 Page 1 of 6 PagelD 5922

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
CASE NO. 8:16-CV-714
TANJA VIDOVIC,
Plaintiff,
VS.

CITY OF TAMPA,

Defendant.

VERDICT OF THE JURY
PREGNANCY DISCRIMINATION
Do you find from a preponderance of the evidence:
1. That the City of Tampa gave Tanja Vidovic a poor performance
evaluation that made her ineligible for a pay increase?

Answer Yes or No fe SS

Go to the next question.
Case 8:16-cv-00714-EAK-CPT Document 193 Filed 12/07/17 Page 2 of 6 PageID 5923

2. That Tanja Vidovic’s pregnancy was a motivating factor that
prompted the City of Tampa to terminate her employment, deny her a
promotion, or give her a poor performance evaluation that made her ineligible
for a pay increase?

Answer Yes or No ( 4 ft Q

If your answer is “No,” this ends your deliberations as to this Count,
and the jury should proceed directly to question 6. If your answer is “Yes,” go
to the next question.

3. That the City of Tampa would have terminated Tanja Vidovic’s
employment, denied her a promotion, or given her a poor performance

evaluation even if the City of Tampa had not taken Tanja Vidovic’s pregnancy

Answer Yes or No / | O

If your answer is “Yes,” this ends your deliberations as to this Count,

into account?

and the jury should proceed directly to question 6. If your answer is “No,” go
to questions 4 and 5.
4, That Tanja Vidovic should be awarded damages to compensate for a

net loss of wages and benefits to the date of your verdict?

Answer Yes or No ( 4 €£ S

If your answer is “Yes,”

in what amount? $ 0, OO O
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Case 8:16-cv-00714-EAK-CPT Document 193 Filed 12/07/17 Page 3 of 6 PagelD 5924

5. That Tanja Vidovic should be awarded damages to compensate for
emotional pain and mental anguish?

Answer Yes or No Ye SG

If your answer is “Yes,”
in what amount? $ B: Y O, 000

SEX DISCRIMINATION
Do you find from a preponderance of the evidence:
6. That the City of Tampa gave Tanja Vidovic a poor performance
evaluation that made her ineligible for a pay increase?
Answer Yes or No / | O
Go to the next question.
7. That Tanja Vidovic’s sex was a motivating factor that prompted the
City of Tampa to terminate her employment, deny her a promotion, or give
her a poor performance evaluation that made her ineligible for a pay increase?
Answer Yes or No / ) fh
If your answer is “No,” this ends, your deliberations as to this Count,
and the jury should proceed directly to question 11. If your answer is “Yes,”
go to the next question.
8. That the City of Tampa would have terminated Tanja Vidovic’s

employment, denied her a promotion, or given her a poor performance
Case 8:16-cv-00714-EAK-CPT Document 193 Filed 12/07/17 Page 4 of 6 PagelD 5925

evaluation even if the City of Tampa had not taken Tanja Vidovic’s sex into
account?
Answer Yes or No
If your answer is “Yes,” this ends your deliberations as to this Count,
and the jury should proceed directly to question 11. If your answer is “No,”
go to questions 9 and 10.
9. That Tanja Vidovic should be awarded damages to compensate for a
net loss of wages and benefits to the date of your verdict?
Answer Yes or No

If your answer is “Yes,”
in what amount? $

10. That Tanja Vidovic should be awarded damages to compensate for
emotional pain and mental anguish?
Answer Y-es or No

If your answer is “Yes,”
in what amount? $

RETALIATION
Do you find from a preponderance of the evidence:
11. That Tanja Vidovic engaged in protected activity when she reported

harassment and discrimination, or pursued this lawsuit?

Answer Yes or No { f 0 S
Case 8:16-cv-00714-EAK-CPT Document 193 Filed 12/07/17 Page 5 of 6 PagelD 5926

Go to the next question.

12. That the City of Tampa took an adverse employment action against

Answer Yes or No ff f 2 Sy

If your answer is “No,” this ends your deliberations, and your

Tanja Vidovic?

foreperson should sign and date the last page of this verdict form. If your
answer is “Yes,” go to the next question.
13. That the City of Tampa took an adverse employment action against
Tanja Vidovic because she filed a charge of discrimination or amended charge
with the Equal Employment Opportunity Commission, reported harassment
or discrimination, or pursued this lawsuit?
Answer Yes or No Ld CS
If your answer is “No,” this ends your deliberations, and your
foreperson should sign and date the last page of this verdict form. If your
answer is “Yes,” go to the next question.
14. That Tanja Vidovic suffered damages because of the adverse
employment action or actions?
Answer Yes or No [ [Lf S
15. That Tanja Vidovic should be awarded damages to compensate for

a net loss of wages and benefits to the date of your verdict?
Case 8:16-cv-00714-EAK-CPT Document 193 Filed 12/07/17 Page 6 of 6 PagelD 5927

Answer Yes or No LY CS

If your answer is “Yes,”

in what amount? $ 5 5S O O O

16. That Tanja Vidovic should be awarded damages to compensate for

 

emotional pain and mental anguish?

Answer Yes or No { . 2S

If your answer is “Yes,”

in what amount? $ // ls, OO QO

SO SAY WE ALL.

   

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DATE: Ak, / af 7
